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              EXHIBIT
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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                                  www.flsb.uscourts.gov

In re:

HOLDWAVE TRADING LIMITED,                                     Chapter 15
                                                              Case No.:
      Debtor in a Foreign Proceeding.
________________________________________/

    DECLARATION OF THE FOREIGN REPRESENTATIVE IN SUPPORT OF
CHAPTER 15 PETITION FOR RECOGNITION OF A FOREIGN MAIN PROCEEDING

         I, Colin Diss, as one of the joint liquidators of Holdwave Trading Limited (“Holdwave” or

“Debtor”), hereby declare under penalty of perjury under the laws of the United States as follows:

         1.     This declaration is submitted in support of the Chapter 15 Petition for Recognition

of a Foreign Proceeding pending in the United Kingdom.

         2.     I am over the age of 18 and, if called upon, could competently testify as to all

matters set forth in this Declaration based upon my own personal knowledge, except for those

parts specified as being otherwise. Where matters are based on information supplied to me, those

matters are true to the best of our information, knowledge, and belief, and I clearly identify the

source of that knowledge.

         3.     I am a licensed insolvency practitioner with Grant Thornton UK LLP. Together

with my colleagues Nicholas Wood and Michael Leeds, I was appointed as a Joint Liquidator

(collectively, the “Joint Liquidators” or “Foreign Representatives”) in the creditors’ voluntary

liquidation of Holdwave. 1 As described more fully herein, Holdwave was placed into members’

voluntary liquidation on October 26, 2020 by its members’ resolution to wind up Holdwave, which


1
 I am authorised by my fellow Joint Liquidators to make this statement on behalf of the Joint
Liquidators.


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was subsequently converted to a creditors’ voluntary liquidation. The status of the liquidation and

the Joint Liquidators’ appointment in the same was confirmed by an order of the judge of the High

Court of Justice Business and Property Courts in Manchester Insolvency and Companies List

(ChD) (“UK Court”) dated April 14, 2021 (“UK Proceeding”).                A copy of the order (the

“Liquidation and Appointment Order”) is attached as Exhibit A.

       4.      The Foreign Representatives took office as the joint liquidators for Holdwave

pursuant to the resolution of creditors at a meeting duly convened for that purpose on February 10,

2021, as described more fully in paragraph 17 herein. The Foreign Representatives have acted in

the capacity as joint liquidators in the UK Proceeding continuously since Holdwave gave notice

of their appointments to Companies House in the UK on February 11, 2021.

       5.      We are advised that within the meaning of chapter 15 of the US Bankruptcy Code:

(i) the Joint Liquidators are the “foreign representative” of the Debtor; (ii) the Debtor’s center of

main interests has, at all times relevant, been in England and Wales; and (iii) the UK Proceeding

is a “Foreign Main Proceeding.”

                                       Factual Background

       6.      Holdwave is a private limited company incorporated in the UK on August 20, 2003

as “Holdwave Limited” with company number 04873145. Its registered office was located at 175

Gray’s Inn Road, London, WC1X 8UE, United Kingdom when its liquidation began, having

previously maintained a different registered office in London. As of the date of this Declaration,

the Foreign Representatives are unaware of any evidence that Holdwave conducted the

administration of its affairs other than from its registered office or that it had any establishment or

place of business outside England and Wales.




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       7.      In accordance with documentation filed at Companies House, 2 Holdwave was

considered to be a dormant Company up to the year ending December 31, 2010. The financial

statements for the year ending December 31, 2011 indicate that it commenced operations in 2011

and describe its principal activity to be that of an agent providing various business analysis,

advisory, and consulting services as well as logistics support across industries.

       8.      The sole director and member of Holdwave at its incorporation was Chalfen

Nominees Limited (“Chalfen”). Amicorp (UK) Directors Limited (“Amicorp Directors”), replaced

Chalfen as director on August 20, 2003. Chalfen’s share was transferred to Amicorp (UK)

Nominees Limited (“Amicorp Nominees”) on April 1, 2011 and Amicorp Nominees was

subsequently allotted one further share. Hansamercator Ltd replaced Amicorp Nominees as

shareholder on April 12, 2011, and held these shares until January 16, 2018. From January 16,

2018 up until the time Holdwave went into liquidation its sole shareholder was Leslie Steven

Scheltens, who held two shares. Leslie Steven Scheltens has been noted at Companies House as

the person with significant control with effect from January 16, 2018.

       9.      Daniel Skordis was appointed as director on September 21, 2009.          Amicorp

Directors then terminated its appointment as director on April 12, 2011 and Michael Brian Price

was appointed as director on that date. Daniel Skordis subsequently resigned on November 1,

2011. Michael Brian Price later resigned on December 31, 2013, the same day on which Kwok

Tung Lee was appointed as director. Following this, Carol Joy Smit was appointed as director on

December 1, 2014. Kwok Tung Lee then resigned on November 28, 2016 and Santiago Barot was

appointed director on the same day. Carol Joy Smit then resigned on December 12, 2016 leaving


2
  Companies House is an administrative governmental entity performing a registration and
recordkeeping function similar to the Corporate Division of the Department of State for most U.S.
states.


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Santiago Barot as the sole director. Santiago Barot remains in office as the current sole director.

     Commencement of the UK Proceeding and Appointment of the Joint Liquidators

       10.     Holdwave is presently in creditors’ voluntary liquidation due to its inability to pay

its debts and its apparent participation in a multinational fraud scheme, as described more fully

herein. Formerly, however, Holdwave was in members’ voluntary liquidation.

       11.     On October 21, 2020, Holdwave’s director, Mr. Santiago Barot, made a statutory

declaration of solvency pursuant to section 89(3) of the Insolvency Act 1986, 3 to the effect that all

of Holdwave’s debts would be paid in full, together with statutory interest, within 12 months of

the commencement of the liquidation.

       12.     On October 26, 2020, a requisite majority of Holdwave’s members passed the

following written resolutions:

               a. That Holdwave be wound up voluntarily;

               b. That Mr. Shane Biddlecombe and Mr. Gordon Johnston (together, the “MVL

                   Liquidators”) be appointed as joint liquidators of Holdwave for the purposes of

                   the voluntary winding up; and

               c. That the MVL Liquidators be authorised to divide among the members of

                   Holdwave in specie part or the whole of the assets of Holdwave and may, for

                   that purpose, value any assets and determine how the division between

                   members should be carried out.

       13.     On November 3, 2020, the MVL Liquidators filed a notice recording their

appointment as liquidators of Holdwave in the members’ voluntary liquidation at Companies


3
 Mr. Barot was Holdwave’s sole director from November 28, 2016 onward. In his statutory
declaration of solvency, he listed his address as 64 Evans Wharf, Hemel Hempstead, Hertfordshire,
HP3 9WN, United Kingdom.


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House.

         14.   Later, on December 3, 2020, Standard Chartered Bank and Standard Chartered

Bank (India) (together, “SCB”) served on Holdwave and the MVL Liquidators an Amended Claim

Form, issued by SCB in the High Court of Justice, Business and Property Courts of England and

Wales, Queen’s Bench Division, Commercial Court (the “Commercial Court”) on August 5, 2020

and amended on November 30, 2020, against Holdwave with claim number CL-2020-000503 (the

“Claim Form”).     The amount claimed by SCB pursuant to the Claim Form was USD

66,491,888.97.   SCB also served on the MVL Liquidators proofs of debt in Holdwave’s

liquidation.

         15.   In the Claim Form, SCB alleges that Holdwave took part in laundering the proceeds

of a significant, complex, and multinational fraud believed to have been committed against SCB

(and other banks) originating with one of its customers, Winsome Diamonds and Jewellery

Limited (“Winsome”). SCB claims that it advanced gold bullion to Winsome pursuant to a

Precious Metal Facility Agreement, Winsome defaulted on its obligations under the agreement,

and Winsome sold the gold and dissipated and/or laundered the sales proceeds. According to SCB,

Winsome transferred the sales proceeds to companies based in the United Arab Emirates, which

were purportedly jewelry distributors (the “UAE Companies”). SCB alleges that the UAE

Companies subsequently entered into sham derivative contracts with Holdwave and five other UK

companies and one Irish company (the “Derivative Companies”), respectively, that were designed

to allow those responsible for the fraudulent scheme to move, conceal, and/or launder funds

through the Derivatives Companies. Specifically, Holdwave purportedly entered into a sham

derivative contract with one of the UAE Companies, Italian Gold FZC (“Italian Gold”). The Claim

Form mentions England and Wales, India, the United Arab Emirates, and the United States of




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America as jurisdictions where the alleged fraud scheme took place. The Foreign Representatives

anticipate from their work to date that information and documents relevant to the alleged fraud

scheme exist in other jurisdictions as well.

       16.     Holdwave did not file an Acknowledgment of Service in response to the Claim

Form in accordance with Civil Procedure Rule (CPR) 58.6(2). As a result, on December 30, 2020,

SCB applied for judgment in default for an amount of money to be decided by the Court pursuant

to CPR 58.8(1) and CPR 12.4(1)(b). On January 16, 2021, the Commercial Court made an Order

pursuant to which (inter alia) judgment was entered against Holdwave for an amount of money to

be decided by the Court (the “Default Judgment”).

       17.     On January 27, 2021, following service of the Default Judgment on the MVL

Liquidators, the MVL Liquidators sent a letter to Holdwave’s creditors advising that (1) Holdwave

would be unable to pay its debts in full within the period stated in the statutory declaration made

by its director, and, therefore, (2) the solvent liquidation would be converted into an insolvent one

through a creditors’ voluntary liquidation. The letter also advised of a virtual meeting where the

creditors would decide, among other things, on a new creditor-nominated liquidator and the release

of the MVL Liquidators. The virtual creditors’ meeting took place on February 10, 2021, where

the creditors resolved to nominate the Foreign Representatives as the joint liquidators and release

the MVL Liquidators.

       18.     On February 11, 2021, Holdwave gave notice at Companies House of the Foreign

Representatives’ appointment as the joint liquidators in Holdwave’s creditors’ voluntary

liquidation.

       19.     As previously stated, the UK Court handed down the Liquidation and Appointment

Order on April 14, 2021, which order confirms that the Foreign Representatives “are validly and




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effectively appointed” as Holdwave’s joint liquidators and are authorized to administer the

liquidation of Holdwave’s assets and affairs and act as Holdwave’s representative in the creditors’

voluntary liquidation. Ex. A ¶¶ 2, 5.

       20.     The primary objective of the Foreign Representatives’ appointment is to investigate

Holdwave’s alleged involvement in the scheme described by SCB, with a view to identifying and

realizing assets for Holdwave’s creditors.      To that end, and as a first step, the Foreign

Representatives seek foreign main recognition under chapter 15 of the US Bankruptcy Code with

the intention of seeking information and documents located in the US including, in particular,

evidence in relation to funds that passed through Holdwave’s accounts and subsequently flowed

through the accounts of several other entities. The Foreign Representatives anticipate that such

information and documents will be held by US financial institutions under the jurisdiction of the

US Court. The Foreign Representatives expect that forensic analysis of this information, in

particular payment flows and counterparties, will enable them to begin investigating the alleged

scheme and identifying further lines of enquiry both in the US and other jurisdictions.

       21.     Following the Joint Liquidators’ appointment, books and records were obtained

from Holdwave’s director, which included accounting records showing twenty-three (23)

payments totaling USD 99,166,374 being made by Holdwave to a UK company called Docklands

Investment Limited (“Docklands”). These payments immediately followed receipts on either the

same day or within the following two days for exactly the same amount from a UAE company,

Italian Gold. Holdwave’s cashbook included the same deal name for each of the receipts from

Italian Gold and the payment to Docklands in the same amount. In the books and records delivered

up by the Director we have located no agreement with Italian Gold or any other documents

referencing the receipts from Italian Gold and the payments to Docklands. Both Holdwave and




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Docklands had the same Cypriot based parent company, Hansamercator Ltd, and a common

director at incorporation, Chalfen. The Joint Liquidators have found no documentary evidence to

explain why the payments were made nor any written agreement between Holdwave and

Docklands or Holdwave and Italian Gold for that matter. As such, the Joint Liquidators intend to

use discovery under chapter 15 to trace the funds sent by Holdwave to Docklands.

        Debtors Have a Domicile, Place of Business, or Property in the United States

        22.     As the joint liquidators of Holdwave, the Foreign Representatives have been

charged to investigate Holdwave’s business, assets, affairs, rights, obligations, and liabilities, both

in the UK and worldwide. The investigation has revealed that assets of the Debtor may be located

in or have passed through the United States.

        23.     The Foreign Representatives seek recognition of the UK Proceeding in furtherance

of a worldwide pursuit of assets with which to satisfy unpaid claims as well as to investigate,

identify, and marshal assets for the benefit of creditors. This includes pursuing any available

causes of action.

        24.     The Foreign Representatives have retained Sequor Law, PA. (“Sequor Law”).

Sequor Law holds in its trust account in this District US$ 1,500 deposited by the Foreign

Representatives on behalf of and for the benefit of the Debtor, to which funds Sequor Law has no

rights of setoff, charging lien, or similar right.




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                   Joint Liquidators in Foreign Proceedings of the Debtor

       25.     As the joint liquidators, the Foreign Representatives are authorized in the UK

Proceeding to administer the liquidation of the Debtor’s assets and affairs and to act as

representatives of the UK Proceeding.

       26.     As the term is defined in 11 U.S.C. 101(23), the UK Proceeding is a “foreign

proceeding” because it is a collective judicial proceeding governed by the Insolvency Act 1986, a

law relating to insolvency or adjustment of debt, in which proceeding the Debtor’s assets and

affairs are subject to the control or supervision of the UK Court for the purpose of liquidation.

       27.     The Foreign Representatives’ address in that capacity is:

                      Attn: Nicholas Wood, Colin Diss, and Michael Leeds
                                  c/o Grant Thornton UK LLP
                                      30 Finsbury Square
                                            London
                                          EC2A 1AG
                                       United Kingdom

       28.     For purposes of this proceeding, the Foreign Representatives request that any

correspondence be sent, in addition to the address provided above, to:

   Attn: Edward H. Davis, Jr., Gregory Grossman, Nyana Miller, and Carolina Z. Goncalves
                                      Sequor Law, P.A.
                               1111 Brickell Avenue, Suite 1250
                                    Miami, Florida 33131

                 Parties to any U.S. Litigation in which the Debtor is a Party

       29.     The Foreign Representatives are not aware of any litigation pending in the United

States in which the Debtor is a party.

    Entities Against Whom Provisional Relief is Being Sought Under § 1519 of the Code

       30.     The Foreign Representatives are not seeking provisional relief under § 1519 of the

Bankruptcy Code.




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             Statement Identifying Foreign Proceedings With Respect to the Debtor

       31.       Other than the UK Proceeding referenced hereinabove, the Foreign

Representatives are not aware of any other foreign proceedings with respect to the Debtor.




                             [This space has been intentionally left blank.]




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        I, Colin Diss, declare under penalty of perjury under the laws of the United States of
America, 28 U.S.C. § 1746, that I am the court-appointed Joint Liquidator for Holdwave Trading
Limited and that, in such capacity, I have the authority to make this Declaration; that I have read
the foregoing Declaration; and that the facts and matters alleged and contained herein are true and
correct to the best of my knowledge and belief, based upon my own personal knowledge of the
facts involved and upon my review of the available documents pertaining to Holdwave Trading
Limited.




                                     Colin Diss - as Joint Liquidator for Holdwave Trading
                                     Limited in the UK Proceeding




            Signature Page to Declaration of Foreign Representative in Support of
                 Chapter 15 Petition for Recognition of Foreign Proceeding
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                                                                             Case No:
                                                                                     CR-2021-MAN-000215
IN THE HIGH COURT OF JUSTICE
BUSINESS AND PROPERTY COURTS IN MANCHESTER
INSOLVENCY AND COMPANIES LIST (ChD)

BEFORE: DISTRICT JUDGE OBODAI

ON: 14 APRIL 2021

IN THE MATTER OF THE INSOLVENCY ACT 1986
AND IN THE MATTER OF HOLDWAVE TRADING LIMITED (IN LIQUIDATION)

BETWEEN

NICHOLAS STEWART WOOD, COLIN DISS, AND MICHAEL THOMAS LEEDS                            APPLICANTS
(as Joint Liquidators of Holdwave Trading Limited (In Liquidation))



                     _________________________________________________________
                                                    ORDER
                     _________________________________________________________
UPON the application of Nicholas Stewart Wood, Colin Diss, and Michael Thomas Leeds (the “Liquidators”) as
Joint Liquidators of Holdwave Trading Limited (In Liquidation) (“the Company”) dated 13 April 2021, made
pursuant to Section 112 of the Insolvency Act 1986 (the “Application”)

AND UPON reading the First Witness Statement of Colin Diss dated 13 April 2021

IT IS ORDERED AND DECLARED that:

   1.   the Company is duly subject to creditors’ voluntary liquidation pursuant to the Insolvency Act 1986;

   2.   the Liquidators are validly and effectively appointed as joint liquidators of the Company;

   3.   the Liquidators have the powers in relation to the Company set out at Schedule 4 to the Insolvency Act
        1986;

   4.   the creditors’ voluntary liquidation of the Company is a collective insolvency proceeding, pursuant to a
        law relating to insolvency, in which the assets and affairs of the Company are under the control of the
        Liquidators subject to the supervision of the High Court of Justice of England and Wales, for the
        purpose of liquidation;

   5.   the Liquidators are individuals authorised to administer the liquidation of the Company’s assets and
        affairs and to act as the representative of the Company in creditors’ voluntary liquidation; and

   6.   the Company’s centre of main interests is located in England and Wales.
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                                                                           Case No:

IN THE HIGH COURT OF JUSTICE
BUSINESS AND PROPERTY COURTS IN MANCHESTER
INSOLVENCY AND COMPANIES LIST (ChD)


IN THE MATTER OF THE INSOLVENCY ACT 1986
AND IN THE MATTER OF HOLDWAVE TRADING LIMITED (IN LIQUIDATION)

BETWEEN

NICHOLAS STEWART WOOD, COLIN DISS, AND MICHAEL THOMAS LEEDS                       APPLICANTS
(as Joint Liquidators of Holdwave Trading Limited (In Liquidation))




                     _________________________________________________________
                                                    ORDER
                     _________________________________________________________

Service of the order
The court has provided a sealed copy of this order to the serving party:

Eversheds Sutherland (International) LLP
70 Great Bridgewater Street
Manchester
M1 5ES

REF: PARRYT/147153.000276

Tel.: 0161 831 8096
Email:
jamieleader@eversheds-sutherland.com
tomparry@eversheds-sutherland.com

Solicitors for the Applicants
